     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 1
                                                        Filed 03/03/17   of 661 of 66
                                                                       Page




                                                                              USCA5 2848
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 2
                                                        Filed 03/03/17   of 662 of 66
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Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 3
                                                        Filed 03/03/17   of 663 of 66
                                                                       Page



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Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 4
                                                        Filed 03/03/17   of 664 of 66
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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 5
                                                        Filed 03/03/17   of 665 of 66
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Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 6
                                                        Filed 03/03/17   of 666 of 66
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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 7
                                                        Filed 03/03/17   of 667 of 66
                                                                       Page



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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 8
                                                        Filed 03/03/17   of 668 of 66
                                                                       Page



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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 9
                                                        Filed 03/03/17   of 669 of 66
                                                                       Page



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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 10
                                                        Filed 03/03/17    of 66
                                                                       Page  10 of 66




                                                       Prothrombin Time (PT) and activated partial
                                                           thromboplastin time (APTT) Testing
                                                       PT
                                                           PPP                    TF+CaCl2                                   Clot Detection


                                                                          37oC                                                                            Optical methods:
                                                                                                                                                          change in turbidity


                                                       APTT
                                                                                                                                                          Mechanical methods:
                                                           PPP              Act+PL                                  CaCl2     Clot Detection              change in motion




                                                                                                        37oC

                                                                                                                                                                                     
                                                      PPP: Platelet Poor Plasma; TF: Tissue Factor; Act: activator; PL: Phospholipid




                                                         Traditional Waterfall cascade
                                                                                                                                                                                             Revised
                XII
                      HMWK
                               XIIa
                                                                                                                                                          Tissue Factor                      Cascade
                      Pre
                                                                                 XII                                                                             VII
                                                                  VII
                XI             XIa                                                     XI
                                                         Ca+2
                                                                                                              VII
                                                                                            IX
                                                                 TF
                IX             IXa                      VIIa                                     VIII
                                                                                                                                            VIIa-TF                         VIIa-TF
                                          PF4
                                                                                                                                                                  X                  IX
         VIII          VIIIa              Ca+2                                                           X
                                                                                                                                                                                       XIa
                                                                                                                                                                                 IXa
                                X                         Xa                                                                            neutralized
                                                                                                         V

                                                                                                                                                                  Xa                 VIIIa       VIII
                                                          PF4                                            II
                                                                                                                                        -TF-Xa
                                                                                                                                     VIIa
                                      V          Va
                                                          Ca+2                                                                              TFPI

                               Prothrombin                     Thrombin
                                                                                                                                                      V                         Va
                                      Fibrinogen                             Fibrin
                                                                                                                                            Prothrombin                                   Thrombin
                                                                                                                                                                         F1.2
                                          aPTT                   PT

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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 11
                                                        Filed 03/03/17    of 66
                                                                       Page  11 of 66



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Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 12
                                                        Filed 03/03/17    of 66
                                                                       Page  12 of 66



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Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 13
                                                        Filed 03/03/17    of 66
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Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 14
                                                        Filed 03/03/17    of 66
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           2016       CIPlus        CI         Plus                                    S        ExcelS      HTF
        InstrumentA      41           6         68        32      20       15          29          18         17

        InstrumentB     1027                    25        43      6        12           6

        InstrumentC     176                     10        7      276      210          59

        InstrumentD     290                                       15      1388         12

        InstrumentE                                              876       29           5

           Total        1534          6        103        82     1193     1654         111         18         17

          %Users       33.0%        0.1%       2.2%     1.7%     25.2%   34.9%        2.3%        0.4%      0.4%
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Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 15
                                                        Filed 03/03/17    of 66
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                                            *SEALED*              Page 16
                                                        Filed 03/03/17    of 66
                                                                       Page  16 of 66



    AntiǦXaactivitytest:

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                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 17
                                                        Filed 03/03/17    of 66
                                                                       Page  17 of 66




                           Anti-Xa activity test
                                        Heparins, Xarelto,
                                        Eliquis, Savaysa


         plasma [anti-Xa drug] + exogenous antithrombin

                                                                  Excess
                                                                  factor Xa

          [Anti-Xa drug + Xa complex] + residual factor Xa

                 Chromogenic substrate
                                                     yellow color
                   Amount of yellow color produced is inversely proportional to drug present
                   Calibration with specific anti-Xa drugs provides quantitative measurements


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Case 2:14-md-02592-EEF-MBN      Document
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                                            *SEALED*              Page 18
                                                        Filed 03/03/17    of 66
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Case 2:14-md-02592-EEF-MBN      Document
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                                            *SEALED*              Page 19
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                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 20
                                                        Filed 03/03/17    of 66
                                                                       Page  20 of 66




                                                                            Figure 5. Correlation between rivaroxaban plasma concentrations and prothrombin time in healthy, elderly male and female subjects (dashed line), and
                                                                            healthy, young male subjects (solid line)18. The shaded box shows the approximate average concentration range (minimum–maximum plasma
                                                                            concentration) in orthopaedic patients receiving rivaroxaban 10 mg once daily 27




                                                                         Published in: Dagmar Kubitza; Michael Becka; Angelika Roth; Wolfgang Mueck; Current Medical Research and Opinion 2008, 24, 2757-2765.
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         Kubitza et al, Clin Pharmacol Ther. 2005;78:412-21.


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                                            *SEALED*              Page 21
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Case 2:14-md-02592-EEF-MBN      Document
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                                            *SEALED*              Page 22
                                                        Filed 03/03/17    of 66
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Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 23
                                                        Filed 03/03/17    of 66
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Case 2:14-md-02592-EEF-MBN      Document
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                                            *SEALED*              Page 24
                                                        Filed 03/03/17    of 66
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Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 25
                                                        Filed 03/03/17    of 66
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Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 26
                                                        Filed 03/03/17    of 66
                                                                       Page  26 of 66



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Case 2:14-md-02592-EEF-MBN      Document
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                                            *SEALED*              Page 27
                                                        Filed 03/03/17    of 66
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Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 28
                                                        Filed 03/03/17    of 66
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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 29
                                                        Filed 03/03/17    of 66
                                                                       Page  29 of 66



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Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 30
                                                        Filed 03/03/17    of 66
                                                                       Page  30 of 66




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Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 31
                                                        Filed 03/03/17    of 66
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Case 2:14-md-02592-EEF-MBN      Document
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                                            *SEALED*              Page 32
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                                            *SEALED*              Page 33
                                                        Filed 03/03/17    of 66
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                                            *SEALED*              Page 34
                                                        Filed 03/03/17    of 66
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Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 35
                                                        Filed 03/03/17    of 66
                                                                       Page  35 of 66




                                APPENDIX A




                                                                             USCA5 2882
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 36
                                                        Filed 03/03/17    of 66
                                                                       Page  36 of 66




                       EXPERT REPORT OF ROBERT CHARLES GOSSELIN

                               Supplementary Information – Appendix A

   Inquiries were made regarding two addition concerns.
      1. When did the most common Prothrombin time test reagents receive approval from the
           FDA for clinical use in the US?
      2. Publications cite Neoplastin and Neoplastine reagents. Please clarify.


      1. Based on recent College of America Pathologist proficiency testing survey program (CGL-
         A) from 2016, the 3 most commonly used reagents are 1) Innovin [N=1654; 34.9% of
         reporting laboratories], 2) Neoplastin CI Plus [N=1534; 33.0% of reporting laboratories],
         and 3) Recombiplastin 2G [N=1193; 25.2% of reporting laboratories].
             a. Innovin received FDA approval in 1998:
                  New Search                                                                     Back To Search Results


                                Device Classification Name     test, time, prothrombin22
                                510(k) Number                  K974343
                                Device Name                    DADE INNOVIN
                                Applicant                      DADE INTL., INC.
                                                               2173 nw 99th ave.
                                                               miami, FL 33172
                                Applicant Contact              radames riesgo
                                Correspondent                  DADE INTL., INC.
                                                               2173 nw 99th ave.
                                                               miami, FL 33172
                                Correspodent Contact           radames riesgo
                                Regulation Number              864.775023
                                Classification Product Code    GJS24
                                Date Received                  11/19/1997
                                Decision Date                  07/22/1998
                                Decision                       substantially equivalent (SESE)
                                Regulation Medical Specialty   Hematology
                                510k Review Panel              Hematology
                                summary                        summary25
                                Type                           Traditional
                                Reviewed by Third Party        No
                                Combination Product            No




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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 37
                                                        Filed 03/03/17    of 66
                                                                       Page  37 of 66



            b. Neoplastine CI in 1992
                New Search                                                                       Back To Search Results


                             Device Classification Name        test, time, prothrombin22
                             510(k) Number                     K922565
                             Device Name                       NEOPLASTINE(R) CI KIT
                             Applicant                         AMERICAN BIOPRODUCTS CO.
                                                               601 north jefferson rd.
                                                               parsippany, NJ 07054
                             Applicant Contact                 loc b le
                             Correspondent                     AMERICAN BIOPRODUCTS CO.
                                                               601 north jefferson rd.
                                                               parsippany, NJ 07054
                             Correspodent Contact              loc b le
                             Regulation Number                 864.775023
                             Classification Product Code       GJS24
                             Date Received                     06/01/1992
                             Decision Date                     12/07/1992
                             Decision                          substantially equivalent (SESE)
                             Regulation Medical Specialty      Hematology
                             510k Review Panel                 Hematology
                             Type                              Traditional
                             Reviewed by Third Party           No
                             Combination Product               No




            c. Recombiplastin 2G in 2004.
                New Search                                                                       Back To Search Results


                                        Device
                                                            test, time, prothrombin22
                                        Classification Name
                                        510(k) Number         K043184
                                        Device Name           HEMOSIL RECOMBIPLASTIN
                                        Applicant             INSTRUMENTATION
                                                              LABORATORY CO.
                                                              180 hartwell road
                                                              bedford, MA 01730
                                        Applicant Contact     carol marble
                                        Correspondent         INSTRUMENTATION
                                                              LABORATORY CO.
                                                              180 hartwell road
                                                              bedford, MA 01730
                                        Correspodent Contact carol marble
                                        Regulation Number    864.775023
                                        Classification Product GJS24
                                        Code
                                        Subsequent Product GIS25
                                        Code
                                        Date Received         11/17/2004
                                        Decision Date         12/22/2004
                                        Decision              substantially equivalent (SESE)
                                        Regulation Medical
                                                              Hematology
                                        Specialty
                                        510k Review Panel     Hematology
                                        summary               summary26
                                        Type                  Special
                                        Reviewed by Third
                                                              No
                                        Party
                                        Combination Product No
                                        Recalls               CDRH Recalls27




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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 38
                                                        Filed 03/03/17    of 66
                                                                       Page  38 of 66



      2. Emails were sent to colleagues across the US, Europe and Australia to determine the
         origin and accuracy of the Neoplastin or Neoplastine nomenclature. Three germane
         responses were sent.
             a. From Dr Emmauel Favalaro (Australia):
                 “…but I did a quick check of the FDA website, and 6 hits for Neoplastin and 8 hits
                 for Neoplastine.”
                 “…6,940 hits for neoplastin reagent using Google, including Stago Websites, vs
                 6,230 hits for neoplastine reagent using Google, again including Stago
                 Websites, so pretty even distribution, and both terms seem to be used by Stago.”
             b. From Dr Paul Riley, Scientific Business Development Manager, North America,
                 Diagnostica Stago, Parsippany, NJ:
                 “There is a lot of confusion about the name of this product and it looks like it
                 would have been misspelled in many previous publications. When Roche was the
                 Stago distributor in western European countries the labeling was still Stago at
                 that time and the full name of the product was the same, which is STA -
                 Neoplastine CI Plus.”
             c. From Dr Francois Depasse, European Specialist in Laboratory Medicine (EC4),
                 PharmD, MSc Directeur Développement Clinique / Director Clinical Development
                 Diagnostica Stago, 3 allée Thérésa, CS 10009, 92665 Asnières sur Seine Cedex,
                 France
                 “The exact spelling for our PT reagent is Neoplastine, with an e at the end.

                 The name may look French and it is possible that some authors use the name
                 without the e at the end.

                 There are various sorts of Neoplastine:
                 -     EĞŽƉůĂƐƚŝŶĞ/;/^/уϭ͘ϳͿ
                 -     Neoplastine /WůƵƐ;/^/уϭ͘ϯͿ
                 -     EĞŽƉůĂƐƚŝŶĞZ;/^/уϭͿ

                 The most used reagent is Neoplastine CI Plus.”




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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 39
                                                        Filed 03/03/17    of 66
                                                                       Page  39 of 66




                                APPENDIX B




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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 40
                                                        Filed 03/03/17    of 66
                                                                       Page  40 of 66



                                                                                        Gosselin, RC Page 1

                                    ROBERT CHARLES GOSSELIN




Family:
          Son:

Licensure:
       State of California
       Clinical Laboratory Scientist
       License # MTA 32188

Certification:
        Specialist, Clinical and Applied Hemostasis and Thrombosis
        International Society of Clinical and Applied Hemostasis, Thrombosis and Vascular Medicine, 1995

Training:
        United States Navy
        Navy Regional Medical Center
        San Diego, CA
        1976-78

Experience:
       United States Navy
               Port Hueneme Naval Hospital                    Naval Regional Medical Center
               Port Hueneme, CA                               San Diego, CA
               General Laboratory Technologist                Specialist, Hematology/Hemostasis
               1978-1979                                      1979-1982

          Mercy General Hospital
          4001 J Street
          Sacramento, CA
          General Laboratory Technologist
          1983-1989

          University of California, Davis Medical Center
          2315 Stockton Blvd
          Sacramento, CA. 95817
          Hematology/Hemostasis Supervisor
          1987-1994
          Senior Specialist, Hematology/Hemostasis,
          1994-current




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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 41
                                                        Filed 03/03/17    of 66
                                                                       Page  41 of 66



                                                                                      Gosselin, RC Page 2

AWARDS, MEMBERSHIPS, COMMITTEES, REVIEWS

Awards
1999/2000 UCDMC Director’s award
2014-2015 Department of Pathology and Laboratory Medicine residency program staff teaching award

Member
International Society of Thrombosis and Hemostasis: 2000-present
North American Specialized Coagulation Laboratory Association: 2007-present
Mediterranean League against Thromboembolic Diseases: 2010 - present

Committees
x University of California, Davis Health System, Subcommittee of the Pharmacy and Therapeutics Committee on
    Thrombosis and Hemostasis: 2002 - present
x University of California, Davis Health System Anticoagulation National Patient Safety Goal 3E Workgroup:
    2008 - 2010
x Advisor, Hematology Consensus Committee, Clinical Laboratory Standards Institute (CLSI): 2009 – 2014
x Member, Hematology Consensus Committee, Clinical Laboratory Standards Institute (CLSI): 2014
x Member, Subcommittee on H51: Assays of von Willebrand factor antigen and Ristocetin Cofactor activity,
    CLSI 2009 - present
x Advisor, Subcommittee on document H-60: :Laboratory testing for the lupus anticoagulant, CLSI: 2010 – 2014
x Member-at-Large, North American Specialty Coagulation Laboratory Association (NASCOLA) 2013 – present
x Board member, International Society for Laboratory Hematology (ISLH), 2015
x Vice Chair, 2016 ISLH Hemostasis/Platelets planning committee
x Planning committee, 2016 Thrombosis Hemostasis Societies of North America (THSNA) conference
x Chair, 2017 ISLH Hemostasis/Platelets planning committee
x 2016 Chair, International Council for Standardization in Haematology : Guideline for DOAC assessment
x
Reviewer:
Manuscript reviewer: Annals of Pharmacotherapy: 2004 - present
Manuscript reviewer: International Journal of Laboratory Hematology: 2007 - present
Manuscript reviewer: College of American Pathology Check Sample, 2006
Abstract reviewer: American Society for Hospital Pharmacists: 2007 - present
Manuscript reviewer: Expert Review in Hematology, 2010
Manuscript reviewer, Thrombosis Research 2012
Manuscript reviewer, J Thrombosis and Thrombolysis 2012 - present
Manuscript reviewer, J Thrombosis Haemostasis, 2013 – present
Manuscript reviewer, Thrombosis Haemostasis, 2012 – present
Manuscript reviewer, Lancet 2015
Sultan Qaboos University Medical Journal 2015

Editorial Board
Journal of Thrombosis and Haemostasis, 2015
Associate Editor, International Journal of Laboratory Hematology, 2015 - present
Associate Editor, Seminars in Thrombosis Hemostasis, 2015 - present




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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 42
                                                        Filed 03/03/17    of 66
                                                                       Page  42 of 66



                                                                                       Gosselin, RC Page 3


Disclosures:
Consultant: Instrumentation Laboratories 2nd Annual North America Hemostasis Scientific Advisory Meeting.
December 9, 2011 San Diego, CA
Consultant: Siemens Healthcare Diagnostics customer forum June 2011 Newark, DE
Consultant: Instrumentation Laboratories 4th Annual North America Hemostasis Scientific Advisory Meeting.
December 6, 2013 New Orleans, LA
Consultant: Instrumentation Laboratories 5th Annual North America Hemostasis Scientific Advisory Meeting.
December 5, 2014 San Francisco, CA
Speaker honoraria: Siemens Healthcare Diagnostics, Diagnostica Stago
2015 Consultant, Sekisui Diagnostics Incorporated
2015 Consultant/Expert Opinion, Plaintiff’s Executive Committee MDL 2592
2015Advisory committee (international and US), NovoNordisk
2015 Advisory committee, Boehringer Ingelheim




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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 43
                                                        Filed 03/03/17    of 66
                                                                       Page  43 of 66



                                                                                           Gosselin, RC Page 4

PEER REVIEWED PUBLICATIONS
1. Gosselin, RC, Owings, JT and Pollock, ME. Assessment of a new near care coagulation analyzer. Poster:
    CAP Conference XXVIII, Arlington, VA. January 1995. October, 1995 Abstract: Archives of Pathology and
    Laboratory Medicine
2. Owings, J., Bagley, M., Gosselin, B., Disbrow, E., Romack, D., and Powell, J. Effect of critical trauma on
    plasma antithrombin activity: low levels are associated with thromboembolic complications. J Trauma, 1996;
    43 (3): 396-405.
3. Owings J, Gosselin R. Acquired antithrombin deficiency following severe traumatic injury: Rationale for
    study of antithrombin supplementation. Sem Thromb Hemosta,1997; Vol 23 (Suppl 1):17-24.
4. JT Owings, R Gosselin, FD Batistella, and M Bagley: Post-truamatic hypercoagulability: the role that Protein
    C and tissue factor pathway inhibitor have in its pathogenesis. Surg Forum, Vol XLVIII, 1997
5. Gosselin RC, Larkin E, Owings JT, and P Coehlo: CryoSealTM System, A New Near Care Device for
    Generating Cryoprecipitate from Plasma, Clin Chem 1997; 43(9): 1782-83.
6. Gosselin RC, Owings JT, Larkin E, and Cannon J: Evaluation of the Sysmex CA-6000 Automated Coagulation
    Analyzer. Clin Chem 1997; 43(9): 1783-85.
7. Gosselin RC, Owings JT, Larkin E, White RH, and Hutchinson R: Oral Anticoagulation Therapy Monitoring
    Using Point-of-Care Devices: Correlations and Caveats. Clin Chem 1997; 43(9): 1785-86.
8. E Mammen, P Comp, R Gosselin, C Greenberg, K Hoots, C Kessler, E Larkin, D Liles, and D Nugent. PFA-
    100TM System: PFA-100TM: A new method for assessment of platelet dysfunction. Sem Thromb Hemosta,
    1998; 24(2): 195-202.
9. RC Jacoby, JT Owings, T Ortega, R Gosselin, FD Battistella. The biochemical basis for the hypercoagulable
    state seen in Cushing’s syndrome. Surg Forum 1998; Vol. XLIX: 29-31.
10. RC Gosselin, John T Owings, Marc E Pollock, and Edward Larkin. The evaluation of a point-of-care device,
    the Thrombolytic Assessment System (TAS), for measuring prothrombin times, activated partial
    thromboplastin times and high dose heparin anticoagulation. Lab Hematol 1998; 4:217-224.
11. RC Gosselin, Bernard Steele, Edward C Larkin, John T Owings, Astrid Castedo-Smit, Rodercik Bella, Debbie
    Griffin, Arturo Weiss. Evaluation of the Sysmex CA-500 coagulation analyzer. Lab Hematol 1999; 4:281-
    287.
12. W Dager and R Gosselin. Importance of Careful Monitoring. Pharmacist Involvement in Anticoagulant
    Therapy: How Patients Benefit. Health Notes 1999. California State Board of Pharmacy, Dept. of Consumer
    Affairs 13-15.
13. AL McMurttry, JT Owings, JT Anderson, FD Battistella, R Gosselin. Increased use of prophylactic vena cava


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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 44
                                                        Filed 03/03/17    of 66
                                                                       Page  44 of 66



                                                                                          Gosselin, RC Page 5

   filters in trauma patients failed to decrease overall incidence of pulmonary embolism. J Am Coll Surg 1999;
   189(3): 314-320.
14. JT Owings, RC Gosselin, FD Battistella, JT Anderson, M Petrich, Larkin EC. Whole blood d-dimer assay: An
   effective non-invasive method to rule out pulmonary embolism. J Trauma 2000; 48(5): 795-800.
15. Gosselin R, Owings JT, White RH, Hutchinson R, Branch J, Mahackian K, Larkin EC.A comparison of point-
   of-care instruments designed for monitoring oral anticoagulation with standard laboratory methods. Thromb
   Haemost 2000; 83(5): 698-703.
16. Dietrich Rein, Teresa Paglieroni, Ted Wun, Debra A. Pearson, Harold H. Schmitz, Robert Gosselin, Carl L
   Keen. Cocoa inhibits platelet activation and function. Am J Clin Nutr 2000; 72(1): 30-35.
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                                            *SEALED*              Page 51
                                                        Filed 03/03/17    of 66
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35. RC Jacoby, JT Owings, T Ortega, R Gosselin, EC Feldman. The biochemical basis for the hypercoaguable
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                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 53
                                                        Filed 03/03/17    of 66
                                                                       Page  53 of 66



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37. Owings J, Harris A, Utter G, Gosselin R, Paglieroni TG. Increases in peripheral blood monocyte-platelet
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38. Dwyre D, Owings J, Gosselin R, Utter G, Jacoby R, Larkin E. Comparison of six d-dimer methods in
    evaluating patients with suspected venous thromboembolism (VTE). Abstract, International Society of
    Thrombosis and Hemostasis. July 6-12, 2001. Paris, France.
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41. Madsen T, Kinsley P, Gosselin R, Semple E, and Godsey J. Procoagulant properties of fibrin sealant generated
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42. K Jantpour, D Dwyre, V Crocker, R. Gosselin, L Hill, M Bonnifield, TG Paglieroni, MR MacKenzie. Platelet
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44. DM Dwyre, D Rios, T Wun, KA Janatpour, R Gosselin, EC Larkin. Evaluation of platelet function in diabetic
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47. DM Dwyre, KA Janatpour, MR MacKenzie, ATW Cheung, T Paglieroni, V Crocker, R Gosselin, S
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                                            *SEALED*              Page 54
                                                        Filed 03/03/17    of 66
                                                                       Page  54 of 66



                                                                                          Gosselin, RC Page 15

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51. JT Anderson, M Bain, T Jeng, R Osnis, RC Gosselin, JT Owings. Diagnosis of post traumatic pulmonary
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                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 55
                                                        Filed 03/03/17    of 66
                                                                       Page  55 of 66



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67. Gosselin, R, Paglieroni, T, J, Jacoby, R, Janatpour, K, Owings, J, Larkin, E. Absolute CD62 expression and
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68. Dager, W, Lee, A, Gosselin, R, King, J, Wun, T, Janatpour, K, Owings, J, White, R. Evaluation of the
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                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 56
                                                        Filed 03/03/17    of 66
                                                                       Page  56 of 66



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70. Robert C Gosselin, Kim A Janatpour, John T Owings. Performance characteristics of a multiplex method for
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   Oral session, September 22nd, 2006.
71. Robert C Gosselin, Kim A Janatpour, John T Owings. Evaluation of multiplex testing for measuring
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   Suzhou, China September 21st, 2006.
72. RC Gosselin, KA Janatpour, JT Owings. Incidence of isolated increases of anti-prothrombin antibodies and
   anti-phosphatidylserine antibodies in patients suspected of having phospholipids antibodies (APL). 12th
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73. RC Gosselin, KA Janatpour, JT Owings. Evaluation of multiplex technology for measuring anti-phospholipid
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74. RC Gosselin, KA Janatpour, JT Owings. Comparing anti-phospholipid antibodies in normal donors and
   thromboembolic patients using multiplex technology. 12th International Conference on Antiphospholipid
   antibodies. April 20-21, 2007 Florence, IT.
75. RC Gosselin, WE Dager, KA Janatpour, A Lee, JT Owings. Comparison of pre-test probability scores to
   commercial assays for measuring antibodies associated with heparin-induced thrombocytopenia. XXIst
   Congress of the International Society of Thrombosis and Haemostasis Geneva, Switzerland July 8, 2007.
76. W Dager, R Pretzlaff, G Raff, R Calhoun, R Gosselin, J King, R White. Successful anticoagulation of infants
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77. RC Gosselin, KA Janatpour, JT Owings. Evaluation of a prototype multiplex method for evaluating
   phospholipids antibodies. XXIst Congress of the International Society of Thrombosis and Haemostasis
   Geneva, Switzerland July 9, 2007.
78. WE Dager, A Lee, RC Gosselin, J King, T Wun, KA Janatpour, JT Owings, R White. Exploring adult patient
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   Haemostasis Geneva, Switzerland July 10, 2007.
79. R Ravindran, I Khan, R Gosselin, T Wun, K Krishnan, P Lucis, K Janatpour. A novel PF4-heparin microbead
   assay and plasma protein biomarker profiling for improved diagnosis of heparin induced thrombocytopenia.
   American Society of Hematology Dec 6-12, 2007 San Diego, CA
80. JS Jahr, H Liu, A Gull, M Moallempour, J Lim, R Gosselin. Does HBOC-201 (Hemopure) affect platelet
   function in orthopedic surgery: A single site analysis of a multicenter study. 82nd International Anesthesia


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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 57
                                                        Filed 03/03/17    of 66
                                                                       Page  57 of 66



                                                                                         Gosselin, RC Page 18

   Research Society Clinical and Scientific Congress. Mar 30th, 2008 San Francisco, CA
81. RC Gosselin, G Utter, KA Janatpour, JT Owings. Thrombin generation in severely injured patients.
   Mediterranean Congress on Thrombosis. June 25th, 2008 Athens, Greece.
82. RC Gosselin, S Tomasovich, KA Janatpour. Comparing and contrasting the BioRad Variant and Primus
   Ultra2 HPLC instruments for hemoglobin variant detection. VIII Latin American Meeting in Hematology,
   Immunology and Transfusion Medicine. Presented May 20, 2009. Havana, Cuba
83. RC Gosselin, AS Gorhe, S Nichols, A Picazo, A Sage , EA Panacek. Prospective evaluation of Innovance D-
   dimer in the exclusion of venous thromboembolism [VTE]. VIII Latin American Meeting in Hematology,
   Immunology and Transfusion Medicine. Oral presentation May 21, 2009. Havana, Cuba
84. CS Marshall, RC Gosselin, DM Dwyre, CJ Gresens. Effect of freeze-thaw cycles of the coagulation profile of
   fresh frozen plasma. AABB Meeting, Baltimore, MD October 2010 Transfusion 2010; 50 Suppl S2, poster SP-
   I, pg 57.
85. Barnhard S, Gosselin R, Dwyre D, Chen M. Acquired von Willebrand Disease Mimicking the Inherited
   Coagulation Disorder: A Diagnostic Challenge. College of American Pathologist 2011 Annual Meeting Dallas,
   TX Poster #86 Arch Pathol Lab Med 2011;135:1156-7.
86. Marshall CS, Gresens CJ, Gosselin RC, Dwyre DM, Taylor D. Liquid Plasma for Massive Transfusions:
   Return of a Classic. 2011 American Association for Blood Banking Annual Meeting San Diego, CA
87. Lopez MJ, Amanatullah D, Gosselin R, Gupta MC, Srinivasan M. Curious Case of Elevated INR: Artificial
   Rise of PT/INR by Telavancin. 2011 Northern California Region Scientific Meeting & SEP Pre-courses.
   October 28-30, 2011 San Jose, CA
88. Hawes E, Deal AM, Jeanneret C, Miller A, Funk-Adcock D, Gosselin R, Whinna HC, Moll S. A Prospective
   Pharmacodynamic Study Evaluating Peak and Trough Coagulation Test Results in Patients on Therapeutic
   Doses of Dabigatran. Thrombosis and Hemostasis Summit of North America. May 2, 2012. Chicago, IL
89. SJ Francart, EM. Hawes, A Deal, DM Funk, RC Gosselin, CC Jeanneret, HC Whinna, S Moll. A Prospective
   Pharmacodynamic Study Evaluating Peak and Trough Coagulation Test Results in Patients on Therapeutic
   Doses of Rivaroxaban. Anticoagulation Forum, May 10,2013 Phoenix, AZ




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Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 58
                                                        Filed 03/03/17    of 66
                                                                       Page  58 of 66



                                                                                   Gosselin, RC Page 19

     OTHER PUBLICATIONS

     DISTANCE LEARNING COURSES
     1. RC Gosselin and JT Owings. Diagnosing patients suspected of having deep vein thrombosis or
        pulmonary embolism. California Association for Medical Laboratory Technology. Fall 2000 distance
        learning course.
     2. RC Gosselin. A recurrent nightmare for clinical laboratory scientists: A review of hemostasis.
        California Association for Medical Laboratory Technology. Fall 2001 distance learning course.
     3. RC Gosselin and JT Owings. American Society of Clinical Pathology Tech Sample H-3; March, 2002.
     4. RC Gosselin and JT Owings. Impact of trauma on coagulation. Part I. In-service reviews in Clinical
        Laboratory Science. 2003; 16 (3): 1-7. American Society for Clinical Laboratory Science. Oakstone
        Medical Publishing. Birmingham, AL.
     5. RC Gosselin and JT Owings. Impact of trauma on coagulation. Part II. In-service reviews in Clinical
        Laboratory Science. 2003; 16 (4): 1-7. American Society for Clinical Laboratory Science. Oakstone
        Medical Publishing. Birmingham, AL.
     6. RC Gosselin. Challenges in diagnosis, monitoring, and long term management in a patient with
        heparin induced thrombocytopenia with antiphospholipid antibody syndrome. American Society
        of Clinical Pathology Tech Sample 2005 Hematology No.H-5.
     7. RC Gosselin. Heparin induced thrombocytopenia in a post-operative cardiopulmonary bypass patient
        requiring extracorporeal and intra-aortic balloon support: diagnosis and management. College
        American Pathology Check Sample April 2007.
     8. Adcock DM, Gosselin RC. Practical Considerations in the Evaluation of an Isolated, Elevated APTT.
        Clinical Pearls Clin Chem 2015 (in press)

     BOOK CHAPTER
     1. GH Utter, RC Gosselin, and Owings JT. 4 Bleeding and Transfusions. 1 Basic Surgical and
        Perioperative Considerations. ACS Surgery Online. Souba WW, Fink MP, Jurkovich, GL et al, Eds.
        WebMD Inc. New York, 2003.
     2. RC Gosselin and MA Smythe. Chapter 18: Coagulation Laboratory Considerations. Anticoagulation
        Therapy: A point-of-care guide. Dager WE, Gulseth MP, Nutescu EA Eds. American Society of
        Health System Pharmacists. Bethesda, MD 2011

     OTHER
     1. Dager WE, Gosselin RC, Raschke R, Vanderveen T. Heparin: Improving treatment and reducing risk
        of harm. Clinical, Laboratory and Safety Challenges. Patient Safety and Quality Healthcare Jan/Feb
        2009:6(1);20-25
     2. Gosselin RC and Tomasovich S. Book Review: Basic Skills in Interpreting Laboratory Data, 4th
        Edition. Annals of Pharmacotherapy. 2009; 43:1548.




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Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 59
                                                        Filed 03/03/17    of 66
                                                                       Page  59 of 66



                                                                                        Gosselin, RC Page 20


      INVITED SPEAKER PRESENTATIONS
  1. University of California, Davis Medical Center; Department of Pathology, School of Medical Technology.
     Hemostasis and Thrombosis, 1988-present

  2. University of California, Davis Medical Center; Critical Care Nurses Orientation: Introduction to Clinical
     Hemostasis, 1989-92

  3. Invited speaker: Cardiovascular Diagnostics, Inc., The UC Davis Experience with the Thrombolytic
     Assessment System (TAS), Pinehusrt, NC Aug 1993

  4. Invited speaker: Dade International, Inc, Mangers Meeting: Changes in healthcare and its relationship to
     coagulation testing, Miami, FL Nov 1994

  5. Invited speaker: Organon Teknika, Inc, The UC Davis beta-site summary of the MDA-180 coagulation
     analyzer, Nov 1994

  6. Invited speaker: David Grant Medical Center, Travis Air Force Base: Platelet lumi-aggregation July, 1994

  7. University of California, Davis Medical Center; Pathology resident training program: Introduction to
     Clinical and Applied Hemostasis, 1993-present

  8. Invited speaker: Dade PFA-100 Study: UC Davis, Medical Center Experience, August 29, 1996, Miami, FL

  9. Invited speaker: Clinical and applied hemostasis: laboratory evaluation, methods and caveats. CAMLT
     meeting, Visalia, CA February 23rd, 1997

  10. R Gosselin, M Pollock, J Owings, and E Larkin: Critical Evaluation of the Use of a Whole Blood Point-of-
      Care (POC) Device by Home Care Nurses for Assessing Coumadin Prophylaxis. Poster Session and
      Guided Poster Tour presentation, International Society of Hemostasis and Thrombosis. Florence, Italy
      June 11, 1997

  11. Invited speaker: UC Davis experience with the PFA-100: '97 Dade Fall Hemostasis seminar; Nov 4th,
      Newport Beach, CA; Nov 6th, Concord, CA

  12. Invited speaker: Point-of-Care Coagulation: Clinical and Technical Perspectives: ’97 Dade Fall Hemostasis
      seminar; Nov 4th, Newport Beach, CA; Nov 6th, Concord, CA

  13. Invited speaker: Conference in Clinical Pathology: Point-of-Care Testing: Coagulation Methods and
      Clinical Utility. Sep 2nd, 1998; UC Davis Medical Center, Sacramento, CA

  14. Invited speaker: Clinical experience with the PFA-100TM analyzer for assessing platelet function. Oct 27th,
      1998 Fresno, CA

  15. Invited speaker: Platelet Point-of-Care Testing: Feb 5th, 1999. VA Martinez, Martinez, CA.


  16. Invited speaker: Case Study: Patient with HIT undergoing CPB. Hemoliance Seminar, Oakland, CA. April

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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 60
                                                        Filed 03/03/17    of 66
                                                                       Page  60 of 66



                                                                                         Gosselin, RC Page 21

      21st, 1999

  17. Invited speaker: Coagulation case studies. Hemostasis Update '99; Helena Laboratories. Oakland, CA
      September 3rd, 1999.

  18. Invited speaker: Clinical studies at UCDMC using the PFA-100 platelet analyzer. Utilization of d-dimer
      testing in ruling out pulmonary embolism. Bakerfield, CA Oct 19th, 1999

  19. Comparison of a rapid automated d-dimer method to other d-dimer methods in patients suspected of deep
      vein thrombosis and pulmonary embolism. Oral presentation, Hemostasis and Thrombosis Update.
      Temple University, Philadelphia, May 11, 2000

  20. Invited speaker: Effects of mechanical insults on coagulation. California Association for Medical
      Laboratory Technologist. Feb 11th, 2001. Sacramento, CA.

  21. Invited speaker: Effects of mechanical insults on coagulation. California Association for Medical
      Laboratory Technologist, San Francisco Chapter. April 28th, 2001 San Francisco, CA.

  22. Guest speaker: Coagulation in the modern laboratory. California State University, Sacramento Hematology
      course. May 16th, 2001.

  23. Invited speaker: Dade Behring Spring Series. D-dimer testing in venous thromboembolism. April 23,
      2002. Cleveland, OH.

  24. Invited speaker: Dade Behring Fall Symposium: D-dimer testing; Heparin Monitoring. Oct 23rd, 2002
      Anaheim, CA.

  25. Invited speaker: The technical aspects and clinical utility of assessing platelet function using the PFA-100¥
      August 1st, 2003 Friday CME Meeting, Mercy Medical Center, Redding CA.

  26. Invited speaker: Coagulation Potpourri. March 21, 2004 CAMLT Winter seminar North series. Newark,
      CA.

  27. Invited speaker: Laboratory monitoring of new anticoagulants. The clinical application of recent advances
      in Pharmacology. April 23rd, 2004. Napa, CA.

  28. Invited speaker: Coagulation Potpourri. June 6th, 2004 CAMLT Summer seminar North series. Reno, NV.

  29. Invited speaker: Point of care coagulation: methods and applications. California Blood Bank Society. Los
      Angeles, CA April 23rd, 2005.

  30. Invited speaker: Did your patient just HIT on you? The paradox of heparin treatment. Stago Current
      Concepts in Hemostasis Symposium. May 11, 2006 Berkeley, CA

  31. Evaluation of multiplex testing for measuring phospholipids antibodies in thromboembolic patients. Asian-
      Pacific Congress on Thrombosis and Hemostasis. Suzhou, China September 21st, 2006

  32. Invited speaker: JACHO Patient Safety Goals: Heparin monitoring and laboratory perspectives. Cardinal
      Health, Mar 13-14 2008, San Diego, CA


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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 61
                                                        Filed 03/03/17    of 66
                                                                       Page  61 of 66



                                                                                        Gosselin, RC Page 22


  33. Webcast: Sponsored by Cardinal Health. Heparin: Improving treatment and reducing risk of harm.
      Clinical, Laboratory and Safety challenges. July 11, 2008.

  34. Invited speaker: Challenges in understanding anticoagulation assays, the lab perspective. 43rd American
      Society of Hospital Pharmacists, Dec 8th, 2008 Orlando, FL

  35. Invited speaker: What you should know about coagulation testing. UC Davis Health System 2009 Update
      on anticoagulation: evidence, guidelines, and regulatory oversight. Sept 26, 2009

  36. Invited speaker: Coagulation potpourri. California Association for Medical Laboratory
      Technologists, Spring session. Feb 7, 2010 Sacramento, CA

  37. Invited speaker: Innovance D-dimer for excluding pulmonary embolism and deep vein thrombosis.
      Surgery grand rounds, Oncology Institute July 17, 2010, Chisinau, Moldova.

  38. Invited speaker: Thromboelastography (overview). 2nd Point of Care Testing Symposium. Oct 12, 2010
      Riyadh, Saudi Arabia.

  39. Invited speaker: Selection, validation, and verification of POCT INR. 2nd Point of Care Testing
      Symposium. Oct 12, 2010 Riyadh, Saudi Arabia.

  40. Invited speaker: Identifying variables that may impact coagulation POCT results. 2nd Point of Care Testing
      Symposium. Oct 12, 2010 Riyadh, Saudi Arabia.

  41. Invited speaker: Q.A. issues surrounding coagulation POCT. 2nd Point of Care Testing Symposium. Oct
      13, 2010 Riyadh, Saudi Arabia.

  42. Invited speaker: Case Study- The Role of Clot Based Assays with Novel Anticoagulants. 26th Pharmacy
      Invitational Conference on Antithrombotic Therapy. December 3, 2011 New Orleans, LA

  43. Invited speaker: Effect of dabigatran on protein C, protein S and antithrombin assays. 58th meeting
      Scientific & Standardization Committee of the International Society for Thrombosis & Haemostasis.
      Plasma Coagulation Inhibitors Committee. June 28, 2012 Liverpool, UK

  44. Invited speaker: Update on Coagulation Sampling and Testing. 43rd Critical Care Congress January 11,
      2014 San Francisco, CA.

  45. Invited speaker: Siemens Diagnostics Educational Symposia Series May 29, 2014 Burlingame, California

  46. Invited speaker: Siemens Scientific Days: Hemostasis Siemens Trends in Thrombosis and Bleeding
      Management. DOAC and coagulation testing; Fact and artifact. Mar 25, 2015 Marburg, Germany

  47. Invited speaker: International Society for Laboratory Hematology. Quantifying and estimating NOAC in
      the routine clinical laboratory. May 14, 2015 Chicago, IL


  48. Invited speaker: CRDH Public Workshop IVD Testing for DOACs DOAC Assessment at UCDHS: What’s
      important October 26, 2015. Silver Springs, MD

                                                                                                        USCA5 2908
     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 62
                                                        Filed 03/03/17    of 66
                                                                       Page  62 of 66



                                                                                        Gosselin, RC Page 23


  49. Invited speaker: Laboratory Assessment of the acutely bleeding patient. International Society for
      Laboratory Hematology pre-conference workshop May 11, 2016 Milan, Italy

  50. Invited speaker: DOAC impact on thrombophilia testing. International Society for Thrombosis and
      Haemostasis Scientific and Standardization Committee for Plasma Coagulation Inhibitors. May 26, 2016.
      Montpellier, France.




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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 63
                                                        Filed 03/03/17    of 66
                                                                       Page  63 of 66



                                                                                      Gosselin, RC Page 24

Studies and Research
Beta-site evaluation of the MDA-180 coagulation analyzer (Sponsor: Organon Teknika, Durham, NC)
Beta-site evaluation of the CA-6000 coagulation analyzer (Sponsor: Dade Behring Int., Miami, FL)
Beta-site evaluation of the Thrombolytic Assessment System (TAS) point-of-care coagulation analyzer HMT, PT,
    aPTT, PTNC cards (Sponsor: Cardiovascular Diagnostics Inc. (CVDI), Raleigh, NC)
Beta-site evaluation of the PFA-100 platelet function analyzer (Sponsor: Dade Behring Int.)
Beta-site evaluation of the CA-500 coagulation analyzer (Sponsor: Dade Behring Int.)

Site evaluation for:
        Software verification, CA-1000 coagulation analyzer (Sponsor: Dade Behring Int.)
        Software verification, CA-6000 coagulation analyzer (Sponsor: Dade Behring Int.)
        Calibration verification, TAS PTNC (Sponsor: CDI)
        TPIS thromboplastin study, CA-6000 coagulation analyzer (Sponsor: Dade Behring Int.)
        Software verification, MDA-180 coagulation analyzer (Sponsor: Organon Teknika)
        Hardware verification, PFA-100 platelet function analyzer (Sponsor: Dade Behring Int.)
        Card validation, aPTT for TAS coagulation analyzer (Sponsor: CDI)
        Card validation, PT for TAS coagulation analyzer (Sponsor: CDI)
        Thromboplastin validation study (Sponsor: Dade Behring Int.)
        Dade Behring CaCl 2 study (Sponsor: Dade Behring Int.)
        PFA alternative source collagen study (Sponsor: Dade Behring Int)
        Intro AMI Sub-study (Sponsor: Schering Plough)
        SMA sepsis trial (Sponsor: CVDI)
        Protein C equivalency evaluation (Sponsor: CVDI)
        PFA alternative collagen validation study (Sponsor: Dade Behring, Int.)
        PTNC verification study (Cardiovascular Diagnostics, Inc)
        BCS coagulation system and D-dimer testing (Sponsor: Dade Behring Int)
        Mini-Quant D-dimer (Sponsor: Biopool)
        Vidas d-dimer (Sponsor: BioMerieux)
        Performance evaluation of the Sysmex CA-1500 coagulation analyzer (Dade Behring, Int)
        aPTT validation study (Pharmanetics; July 2001)
        ENOX normal and validation study (Pharmanetics, July 2001)
Thermogenesis FDA validation of the CryoSeal method for generating cryoprecipitate
(Thermogenesis Corp, Rancho Cordova, CA)
        Pre-FDA submission data
        510K submission data
        Comparison of CryoSeal to traditional FFP methods (duration 1 year: June 98-Jun 99)
        Esoteric coagulation markers in CryoSeal or Thrombin material
               September, 1998
               March, 1999
               April, 1999
               March 2000
               August 2000
               September 2000
               Jan-Feb 2001
               Jun-Jul 2001
               April 2004
Siemens’ Innovance D-dimer study for PE and DVT exclusion (Apr 08-July 2009; April 2010)
Siemens’ Stratus DDMR study for PE and DVT exclusion (Apr 08-July 2009; April 2010)


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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 64
                                                        Filed 03/03/17    of 66
                                                                       Page  64 of 66



                                                                                     Gosselin, RC Page 25

Evaluation of DRVVT method on TOP analyzer (Instrumentation Laboratory, Sep – Oct 2010)
Performance evaluation of the CS2000 instrument (Siemens Healthcare Diagnostics, Feb 2011- Fall 2011)
Siemens’ NTF Study for CS2000i instrument (Fall 2011)
Siemens’ Bridging Study for CS2000i instruments (Fall 2011)
Laboratory testing in patients receiving 150mg bid Pradaxa (Spring 2012): University of North Carolina
Siemens’ APTT lot comparison study (Mar 2013)
Laboratory testing in patients receiving Xarelto (Mar 2013): University of North Carolina
Dabigatran measurement using Siemens, IL and chromogenic ecarin methods: ISTH Scientific Standardization
Committee multi-centre study (Mar 2013)
Sekisui Coapresta 2000 performance evaluation (Dec 2013 – Jun 2014)
Stago ECAII evaluation for dabigatran measurement (Dec 2014)
Bayer 94-9027 for factor VIII activity measurements (Dec 2014)
BAX335 for factor IX activity measurements (Dec 2014)
Bayer 81-8973 for factor VIII activity measurements (Jan 2015)
Sekisui Coapresta 2000 imprecision study (Feb 2015)




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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 65
                                                        Filed 03/03/17    of 66
                                                                       Page  65 of 66



                                                                                        Gosselin, RC Page 26

COLLABORATIVE STUDIES:
DOCVS: Dept. of Cardiovascular Surgery
DOS: Dept. of Surgery
SOVM: School of Veterinary Medicine
DOC: Dept. of Cardiology
DOEM: Dept. of Emergency Medicine
DONeu: Dept. of Neurology
DOO: Dept. of Opthamology
DOP: Dept. of Pathology
DONep: Dept. of Nephrology
DGM: Dept. General Medicine
DOA: Dept. of Anesthesia
DONu: Dept of Nutrition
DOHO: Dept. of Hematology and Oncolocy
DONS: Dept of Neurosurgery
    1. Coagulation markers in children and adults undergoing (CPB) cardiopulmonary bypass (DOCVS)
    2. Antithrombin replacement in (ECMO) extracorporeal membrane oxygenation (DOCVS)
    3. Hypercoagulability associated with critical injury (DOS)
    4. Hypercoagulability associated with canine Cushing’s disease (DOS, SOVM)
    5. Effects of Dobutamine on coagulation (DOS, DOC)
    6. Effects of different bypass circuit primes and coagulation during pediatric CPB (DOCVS)
    7. Effects of delayed resuscitation on coagulation in a sheep model (DOS, DOEM)
    8. Effects of hypovolemic shock and femur pin placement on coagulation in a sheep model (DOS)
    9. Effects of paralysis on coagulation in dogs (DOS, DONeu)
    10. Coagulation markers in vitreous fluid (DOO)
    11. Effects of dietary changes on platelet function and coagulation (DOP)
    12. Effect of critical injury on platelet function and activation (DOS)
    13. Effects of hormone replacement therapy on platelet function and activation (DOC)
    14. Effects of renal dialysis on platelet function (DOP, DONep)
    15. Effects of fetal surgery on maternal coagulation (DOS)
    16. Effects of injury on coagulation (DOS and Greenville, South Carolina)
    17. Fibrin monomer testing in trauma patients (DOS, Rochester, New York)
    18. Evaluation of the PTS cartridge for monitoring coumadin therapy (DOP, DGM)
    19. Validation of the Thromboelastograph (DOS; DOA)
    20. Platelet function testing using the PFA-100 on animal models (DOS)
    21. Effects of cocoa, caffeine and de-alcoholized wine on platelet function (DONu)
    22. Effects of stroma-free hemoglobin HBOC (Biopure) on platelet function (DOA, DOS)
    23. Comparison of POC PT monitors on coumadin Rx patients (DOP, DOS, DGM)
    24. Effects of HBOC-201 on routine coagulation testing (DOS, DOP)
    25. Effects of homocysteine on platelet function and activation (DOP)
    26. Whole blood platelet monocyte aggregates in critical trauma patients (DOS)
    27. Whole blood platelet monocyte aggregates and TF expression in SSD (DOHO)
    28. Whole blood platelet monocyte aggregates and TF expression in trauma patients (DOS)
    29. Effects of open versus laproscopic procedures for gastric bypass on coagulation (DOS)
    30. Effects of open versus laproscopic procedures for gastric bypass on soluble cytokines (DOS)
    31. Effects of open versus laproscopic procedures for gastric bypass on platelets (DOS)
    32. Effects of Hemosol on platelet function and activation (DOA)
    33. Effects of critical trauma on platelet activation, function, and monocyte/platelet aggregates (DOS)
    34. Effects of anti-VEGF in renal cell carcinoma on coagulation (DOHO)
    35. Tissue factor expression on monocytes and platelet-monocyte aggregates in sickle cell patients (DOHO)

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     Case 2:14-md-02592-EEF-MBN
Case 2:14-md-02592-EEF-MBN      Document
                            Document 5641-55641-5 Filed 03/03/17
                                            *SEALED*              Page 66
                                                        Filed 03/03/17    of 66
                                                                       Page  66 of 66



                                                                                       Gosselin, RC Page 27

  36. Donor leukocyte survival in transfused trauma patients (DOS)
  37. Stability of diluted enoxaparin (DOPharmacy)
  38. Effect of direct-thrombin inhibitors on coagulation testing (DOPharmacy)
  39. Variation of different lots of enoxaparin (DOPharmacy)
  40. Glass versus plastic blood collection tubes
  41. Biochemical markers for VTE in gynecological cancer (DOHO)
  42. Effect of plastic surfaces on rabbit blood using peptide markers of coagulation (DOHO)
  43. Effect of D-dimers and Fibrin(ogen) degradation products on PFA measurements (DOS)
  44. Flow cytometric evaluation for heparin induced thrombocytopenia (DOHO)
  45. Prothrombin fragment (F1.2) levels in patients with head injuries receiving rVIIa (DONS)
  46. Factor VIII antigen testing using ELISA (DOP)
  47. New factor IX antigen testing (DOP)
  48. Multiplex testing for heparin induced thrombocytopenia (DOPharmacy, DOP)
  49. Multiplex testing for antiphospholipid syndrome (DOP)
  50. Evaluation of Endogenous Thrombin Potential testing on the BCS (DOP)
  51. Effect of Cangrelor on coagulation tests (DOP)
  52. Evaluation of Aniara HIT antibody kits (DOP)
  53. Evaluation of Stago HPIA kits (DOP)
  54. Effect of multiple freeze-thaw cycles on coagulation testing (DOP)
  55. Evaluation of Endogenous Thrombin Potential testing on different animals (DOP SOVM)
  56. Effects of multiple freeze-thaw cycles on fresh frozen plasma (DOP, BloodSource)
  57. Thrombin-antithrombin complexes in Cushing dogs (SOVM)
  58. Thrombin-antithrombin complexes in lymphoma dogs (SOVM)
  59. Beckman Coulter TOP coagulation analyzer evaluation (DOP)
  60. D-dimer levels during menstrual cycle (DOEM)
  61. Coagulation profile of liquid state plasma storage (DOP, BloodSource)
  62. Effect of telavancin (Vibativ) on coagulation testing (DOP, Pharmacy)
  63. Effect of Pradaxa on coagulation testing (DOP)
  64. Plasmalyte recuscitation and Thromboelastography in trauma patients (DOS)
  65. Effects of sample storage conditions on coagulation testing (DOP 2014)
  66. Effects of multiple freeze-thaw cycles on coagulation testing (DOP 2014)
  67. Changes in coagulation parameters after apheresis (DOP 2014)
  68. Evaluation of the TEG5000 thromboelastogram
  69. Evaluation of the BioFire method for respiratory viral panel testing (DOP 2014)
  70. Evaluation of the BioFire E-threat for ebola virus detection (DOP 2014)
  71. Evaluation of the Hemachron Jr Elite for PT and APTT measurements (DOP 2014)
  72. Evaluation of Immunor IgG and polyclonal anti-PF4 testing in severe burn patients (DOP 2015)
  73. Endogenous thrombin potential: dabigatran and rivaroxaban anticoagulated patients (DOP 2015)
  74. Edoxaban effect on coagulation testing
  75. INR equivalent assessment in OAC patients (DOEM 2016)
  76. Nanoparticles affixed with dextran and iron oxide and their effect on coagulation testing (DOP 2016)
  77. Polyphosphates and their effect on coagulation testing.(DOP, UCSB 2016)




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